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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION


UNITED STATES OF AMERICA                                                           RESPONDENT


v.                               Criminal No. 4:11-cr-40037-006



MARCUS SIMS                                                                              MOVANT



                                             ORDER

       BEFORE the Court is the Motion to Amend/Correct (ECF No. 1327) filed herein by Movant.

The Motion to Amend/Correct (ECF No. 1327) is GRANTED. The Respondent is directed to

consider the Motion to Amend/Correct when it files its Response in this matter as previously ordered.

       ENTERED this 2nd day of May 2014.


                                                        /s/ Barry A. Bryant
                                                       HON. BARRY A. BRYANT
                                                       UNITED STATES MAGISTRATE JUDGE
